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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION


ARTHUR CARSON                                  §

v.                                             §     CIVIL ACTION NO. 6:79cv356

R. PUSTKA, ET AL.                              §


                                           ORDER

               The Plaintiff Arthur Carson has filed a motion asking for enforcement of a

settlement agreement that he entered into with officials of the Texas Department of Criminal

Justice, Correctional Institutional Division. Carson says that this settlement agreement provided

that he would be transferred from the Michael Unit, and that he has now been sent back to that

unit, where he has become the target of retaliation. It is hereby

               ORDERED that the Attorney General for the State of Texas shall have thirty days

in which to respond to the Plaintiff’s motion for order to show cause. It is further
                         .
               ORDERED that the Clerk shall send a copy of this order and the Plaintiff’s

motion (docket no. 65) to the Docketing Clerk, Law Enforcement Defense Division, Attorney

General for the State of Texas.


                         So ORDERED and SIGNED this 15th day of May, 2006.




                                                        ___________________________________
                                                                   JOHN D. LOVE
                                                        UNITED STATES MAGISTRATE JUDGE
